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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES

Date: April 29, 2025         (Time: 5 hours, 31 minutes) JUDGE: Phyllis J. Hamilton

Case No: 19-cv-07123-PJH
Case Name: WhatsApp Inc. v. NSO Group Technologies Limited

Attorney(s) for Plaintiff:          Greg Andres; Antonio Perez-Marques; Luca
                                      Marzorati
Attorney(s) for Defendants:         Joseph Akrotirianakis; Aaron Craig; Matthew
                                      Noller


Deputy Clerk: Kelly Collins               Court Reporter: Lee-Anne Shortridge

                                     PROCEEDINGS

      Jury Trial (Day 1) - Held. Further Jury trial set for April 30, 2025, at 8:30 a.m.
